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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


 UNITED STATES OF AMERICA

       V.                                         Case No.        -C R             ^

 INTERTECH TRADING CORPORATION,

    Defendant.


                                        INFORMATION

The United States Attorney charges that:

                                            COUNT 1
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about October 18, 2016, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, SeaSpray U-Series Nebulizers, Capillary Quartz

Injectors, Quartz Torches for iCAP 6000, WHT PVC Pump Tubes, and Duo Periscope Windows,

which were valued at $5,210 and falsely described on the U.S. Postal Service Customs

Declaration and Dispatch Note as “spare parts for aquarium” with a declared value of $118, in

violation of Title 13, United States Code, Section 305.

                                            COUNT2
                      [13 U.S.C. § 305 - Failure to File Export Information]

       On or about October 12, 2017, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Russia

merchandise, articles, and objects, namely, an X700 Laser Assembly, which was valued at
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$3,273 and falsely described on the U.S. Postal Service Customs Declaration and Dispatch Note

as "spare lamp for aquarium system” with a declared value of $20, in violation of Title 13,

United States Code, Section 305.

                                           COUNT 3
                     [13 U.S.C. § 305 — Failure to File Export Information]

       On or about February 8, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Russia

merchandise, articles, and objects, namely, an IS50 Laser Assembly, which was valued at $3,365

and falsely described on the U.S. Postal Service Customs Declaration and Dispatch Note as

 lamp for aquarium” with a declared value of $20, in violation of Title 13, United States Code,

Section 305.

                                           COUNT4
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about February 22, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Russia

merchandise, articles, and objects, namely, a MCP SEM Detector and Prima Dual Filament

Mesh Thoria Assemblies, which were valued at $7,573.88 and falsely described on the U.S.

Postal Service Customs Declaration and Dispatch Note as "spares for welding system” with a

declared value of $95, in violation of Title 13, United States Code, Section 305.

                                            COUNT 5
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about April 25, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through
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the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, Tzero Pans and Tzero Hermetic Lids, which were

valued at $2,580 and falsely described on the U.S. Postal Service Customs Declaration and

Dispatch Note as “spare part for aquarium'’ with a declared value of $56, in violation of Title 13,

United States Code, Section 305.

                                            COUNT 6
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about May 15, 2018, in the District of New Hampshire,the defendant,

INTERTECFl TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, Extended Lifetime CUVs and Zeeman Contact

Cones, which were valued at $6,508.81 and falsely described on the U.S. Postal Service Customs

Declaration and Dispatch Note as “spare part for aquarium” with a declared value of $108, in

violation of Title 13, United States Code, Section 305.

                                            COUNT 7
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about May 21, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, a Zeeman Centre Block Assembly, which was valued

at $5,151.28 and falsely described on the U.S. Postal Service Customs Declaration and Dispatch

Note as “spare part for aquarium” with a declared value of $116, in violation of Title 13, United

States Code, Section 305.
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                                           COUNT 8
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about October 23, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Russia

merchandise, articles, and objects, namely, Prima Dual Filament Mesh Thoria Assemblies and a

Prima Capillary MK2 Assembly, which were valued at $4,020 and falsely described on the U.S.

Postal Service Customs Declaration and Dispatch Note as “spares for welding system” with a

declared value of $95, in violation of Title 13, United States Code, Section 305.

                                           COUNT 9
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about November 5, 2018, in the District of New Hampshire, the defendant,

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, an Evolution 300 Xenon Lamp, an EV300 Spare

Cover, an Evolution 300 Ml, and an Evolution 300 M2, which were valued at $4,682 and falsely

described on the U.S. Postal Service Customs Declaration and Dispatch Note as “spare parts for

multimedia” with a declared value of $128, in violation of Title 13, United States Code, Section

305.

                                           COUNT 10
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about November 14, 2018, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, an Evolution 300/600 CVC, which was valued at
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$2,880 and falsely described on the U.S. Postal Service Customs Declaration and Dispatch Note

as "spare part for aquarium” with a declared value of $1 15, in violation of Title 13, United States

Code, Section 305.

                                            COUNT 11
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about December 1, 2018, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, a 32x reflachromat objective, a 32x condenser, a four

place brightfield nosepiece, and an X700 laser assembly, which was valued at $20,145 and

falsely described on the U.S. Postal Service Customs Declaration and Dispatch Note as “spare

parts for multimedia systems(lamp, objective condenser, holder)” with a declared value of $135,

in violation of Title 13, United States Code, Section 305.

                                            COUNT 12
                     [13 U.S.C. § 305“ Failure to File Export Information]

       On or about December 20, 2018, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, GE Parts, which were valued at $3,324 and falsely

described on the U.S. Postal Service Customs Declaration and Dispatch Note as “spare parts for

aquarium” with a declared value of $1 16, in violation of Title 13, United States Code, Section

305.
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                                             COUNT 13
                     [13 U.S.C. § 305 - Failure to File Export Information]

       On or about December 29, 2018, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, an LRU iNlO Detector and iSlO IR Source, which

were valued at $4,222.80 and falsely described on the U.S. Postal Service Customs Declaration

and Dispatch Note as “spare parts for multimedia” with a declared value of $148, in violation of

Title 13, United States Code, Section 305.

                                             COUNT 14
                     [13 U.S.C. § 305 - Failure to File Export Informationj

       On or about March 21,2019, in the District of New Hampshire, the defendant.

INTERTECH TRADING CORPORATION, knowingly failed to file export information through

the Automated Export System by exporting and sending from the United States to Ukraine

merchandise, articles, and objects, namely, a Preventative Maintenance Kit forNicolet 380, a

ZnSe Trough Replacement Crystal, a PressLok Holder, and an iNlO OBC Board, which were

valued at $4,252 and falsely described on the U.S. Postal Service Customs Declaration and

Dispatch Note as “spare parts for multimedia systems” with a declared value of $148, in

violation of Title 13, United States Code, Section 305.

       JANE E. YOUNG
       United States Attorney


By:
                Hodes
       Assistant United States Attorney

       David Lim
       Trial Attorney
       National Security Division, Counterintelligence and Export Control Section
